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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

CASEY CAMPBELL,                                   §
                                                  §
        Plaintiff,                                §
                                                  §
v.                                                §     CIVIL ACTION NO. 3:19-cv-01887-L
                                                  §
WILLIAM P. BARR, ATTORNEY                         §
GENERAL OF THE UNITED STATES;                     §
UNITED STATES DEPARTMENT OF                       §
JUSTICE; FEDERAL BUREAU of                        §
PRISONS; and WILLIAM ONUH,                        §
                                                  §
        Defendants                                §

                      PLAINTIFF’S THIRD AMENDED COMPLAINT

                                             Introduction

1.      Plaintiff Casey Campbell has been employed by the Federal Bureau of Prisons (“BOP”) as

a chaplain since 2006, serving the spiritual and religious needs of inmates, staff, volunteers and

visitors at the federal prisons where he has worked. Chaplain Campbell’s job performance is

routinely evaluated as excellent by his supervisors and peers. In his current assignment at the

Federal Medical Clinic Carswell (“FMC Carswell”), which began in 2008, Chaplain Campbell

serves a community of prisoners, prison employees, volunteers, and visitors ministering specifically

to individuals of the Protestant faith, while also working in a pluralistic, religious environment

serving religious and secular needs of persons of all faiths.

2.      For many years, Chaplain Campbell and his co-workers, who are also chaplains at FMC

Carswell, have been subjected to religious discrimination and harassment in a pervasively hostile

work environment at FMC Carswell that is largely due to the illegal and discriminatory behavior of


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one BOP employee, William Onuh, who is also a chaplain at FMC Carswell.

3.      The religious discrimination, harassment and the hostile work environment has not been

corrected by BOP, even after repeated complaints by Campbell and others over at least seven years.

Due to BOP’s long-term failures to remedy the illegal discrimination, Chaplain Campbell filed a

complaint through the BOP’s internal Equal Employment Opportunity (“EEO”) process in May

2017, consistent with the requirements of Title VII applicable to his federal employment.

4.      Acting on Campbell’s complaint, the Complaint Adjudication Office (“CAO”) at Department

of Justice (“DOJ”) decided on May 16, 2019 that Campbell was a victim of religious discrimination,

and entitled to compensation for that discrimination and harassment.

5.      The May 16, 2019 CAO decision is attached to this Amended Complaint and is incorporated

by reference fully, as if set out in its entirety.

6.      Plaintiff offers the CAO decision as evidence1 of the discrimination and harassment suffered

by Plaintiff, as well as evidence of BOP’s longstanding failure to act to remedy the illegal

discrimination suffered by Plaintiff, which continues to this date.

7.      DOJ also ordered BOP to take immediate steps to remedy the harassment and to take steps

reasonably calculated to prevent future harassment, consistent with 29 C.F.R. § 1614.501 (a)(2).

8.      As BOP failed to remedy the illegal religious discrimination and illegal harassment and

instead, has allowed the illegal discrimination, harassment and hostile work environment to persist,

Campbell files this lawsuit to pursue his claims and enforce his rights under Title VII.

9.      Campbell seeks de novo review of his discrimination and harassment claims by this Court,

        1
        See Massingill v. Nicholson, 496 F.3d 382, 384 (5th Cir. 2007) (citing Chandler v.
Roudebush, 425 U.S. 840 (1976) (“the Supreme Court held that administrative findings in
discrimination cases may be evidence of discrimination.”).
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as allowed by Title VII.2

10.    Campbell timely files this Amended Complaint on March 18, 2021 in accordance with the

Court’s Order on March 4, 2021 (Doc. 31).

                                               Parties

11.    Plaintiff, Casey Campbell, is an individual who resides in Tarrant County, Texas.

12.    Defendant, Merrick Garland (“Garland”)3, is the Attorney General of the United States, head

of the United States Department of Justice, the executive branch department under which the Federal

Bureau of Prisons runs the federal prisons. Former Attorney General William Barr appeared in this

action on June 1, 2020.

13.    Plaintiff alleges Defendant Garland is a proper Defendant under Title VII as he is “‘the head

of the department, agency, or unit, as appropriate ...’”.4

14.    Defendant, William Onuh (“Onuh”), is employed by the Federal Bureau of Prisons at FMC

Carswell. Defendant Onuh appeared in this action on June 22, 2020.

15.    Plaintiff alleges Defendant Onuh is a proper Defendant under the Declaratory Judgment Act

because Plaintiff seeks declarations that may affect Onuh’s substantive rights.

16.    Plaintiff alleges Defendant Onuh is a proper party in this case as his actions “substantially


       2
        The Court ordered Plaintiff to choose between a de novo review of the agency decision
and an action to enforce the decision. Plaintiff objects to this enforced choice because he seeks
to proceed with alternative theories, but he nevertheless complies with the Court’s order and he
seeks de novo review as allowed under Title VII. See Massingill v. Nicholson, 496 at 384.
       3
        Plaintiff substitutes Attorney General Merrick Garland as party Defendant in place of
former Attorney General William Barr, because Garland is the current holder of his office and is
the necessary and proper Defendant under Title VII. See Skoczylas v. Federal Bureau of Prisons,
961 F.2d 543, 544 (5th Cir. 1992) (citing 42 U.S.C. § 2000e-16c).
       4
        Id.
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burden [Plaintiff’s] exercise of religion in violation of 42 U.S.C. § 2000bb-1.

                                     Venue and Jurisdiction

17.    Venue is proper in the Northern District of Texas because the cause of action accrued in the

Northern District of Texas.

18.    The Court has jurisdiction under 28 U.S.C. § 1331 as Campbell’s claims involve questions

of federal law under TITLE VII, 42 U.S.C. § 2000e et seq., under the RELIGIOUS FREEDOM

RESTORATION ACT,    42 U.S.C. § 2000bb et seq., and claims for declaratory relief, injunctive relief

and for costs and fees under 28 U.S.C. § 2201, § 2202 and § 2412.

19.    Campbell further alleges that he has exhausted all administrative requirements necessary to

pursue his claims under 42 U.S.C. § 2000e et seq., as he has sought EEO counseling and he has

formally complained through the EEO process available at BOP and he was issued a final agency

decision that allows this lawsuit and confers jurisdiction in this Court.

                                        Factual Allegations

20.    Casey Campbell is a chaplain at FMC Carswell institution, where he has worked since 2008.

21.    During his time as a BOP employee at FMC Carswell, Chaplain Campbell has routinely been

evaluated as an exemplary employee.

22.    Starting in 2012, Chaplain Campbell has been subjected to a series of discriminatory actions

while working in a long-term, pervasively hostile work environment at FMC Carswell that BOP has

been aware of and failed to remedy since as early as 2013.

23.    Campbell complained to his supervisors at FMC Carswell over a period of several years,

from 2013 through 2017, that he was being illegally discriminated against because of his Protestant

religion by his co-worker, William Onuh, a Catholic chaplain at FMC Carswell.

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24.    Despite the repeated complaints about Defendant Onuh by Campbell and many others at

FMC Carswell, including fellow chaplains, other BOP employees, volunteers, visitors, and

prisoners, which extended over a period of more than four years, no one of any authority took action

to prevent the illegal religious discrimination by Onuh against Chaplain Campbell and others.

25.    On May 2, 2017, after his repeated complaints over a period of years to supervisors at FMC

Carswell about illegal discrimination prompted no remedial action by BOP, Casey Campbell filed

a formal complaint of religious discrimination under 42 U.S.C. § 2000e (Title VII) and 29 C.F.R.

1614 to the EEO Office for BOP.

26.    Campbell complained through BOP’s agency complaint process of discrimination and

harassment against him due to his Protestant religion, including complaints about Defendant Onuh.

27.    Casey Campbell complained about Onuh’s repeated, disparaging remarks about Protestant

chaplains, Onuh’s refusal to escort non-Catholic volunteers at FMC Carswell as required by his job

duties, and Onuh’s continuing refusals and failures to supervise non-Catholic activities at FMC

Carswell, leaving non-Catholic chaplains like Chaplain Campbell with extra work.

28.    After an extensive investigation by a federal contractor, Adept Services, Inc., which was

investigation 2017-BOP-0505, BOP received an investigation report on or about April 16, 2018.

29.    At some time after receipt by BOP, the investigation report was submitted to the CAO.

30.    On May 16, 2019, thirteen months after the investigation report was received at BOP, CAO

issued its decision that Chaplain Campbell had been subjected to illegal discrimination, that he is

entitled to compensation and that BOP was required to remedy the illegal discrimination, which

decision is attached to this pleading and is incorporated by reference as if set out in full herein.

31.    BOP was ordered to take immediate steps to remedy illegal discrimination and harassment

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and to take steps reasonably calculated to prevent future harassment by Onuh.

32.    The CAO determined in its May 16, 2019 decision that Plaintiff is entitled to recovery of

compensatory damages from BOP.

33.    The CAO also determined in its May 16, 2019 decision that Campbell is entitled to recover

his attorney’s fees from BOP.

34.    On September 27, 2019, seventeen months after the investigation report was received at BOP

and four months after CAO issued its decision that Chaplain Campbell had been subjected to illegal

discrimination, that Campbell was entitled to compensation, and that BOP was required to remedy

the illegal discrimination, CAO issued a second decision.

35.    The second CAO decision, which is also attached to this pleading5 and incorporated by

reference as if set out in full herein, required BOP to pay compensation to Campbell, to pay

attorney’s fees incurred by Campbell, and to remedy the illegal discrimination.

36.    During the now more than twenty-two months since BOP was first ordered to take immediate

steps to remedy the illegal religious discrimination and harassment Casey Campbell was and is

subjected to at BOP, including by William Onuh, BOP continues to fail and refuse to remedy that

illegal discrimination and/or harassment.

37.    BOP has also failed to take steps reasonably calculated to prevent future illegal

discrimination and/or harassment.

38.    The allegations in this Third Amended Complaint are not intended as a treatise on all of the




       5
         Plaintiff submits these CAO decisions as evidence. See Massingill v. Nicholson, 496
F.3d at 384 (citing Chandler v. Roudebush, 425 U.S. 840 (1976) (“administrative findings in
discrimination cases may be evidence of discrimination.”).
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incidents of discrimination, harassment and retaliation that have continued since May 2019, but they

are specific examples intended to show illegal religious discrimination at FMC Carswell that BOP

was ordered to correct, but failed to correct, which is also evidence of the Defendants’ knowledge.

39.    In June 2019, Plaintiff complained to Carlyn Sapla, who was the acting EEO director for

BOP, that no corrective action had been taken by BOP to stop Onuh’s illegal conduct.

40.    Also in June 2019, FMC Carswell associate warden Alan Cohen threatened Plaintiff and his

supervisor, Chaplain Jonathan Clark, telling them to stop complaining about Onuh.

41.    Associate warden Cohen also told Plaintiff to stop reporting Chaplain Onuh’s illegal

discrimination and harassment or Plaintiff would be subjected to an investigation for stalking Onuh.

42.    Plaintiff considers Cohen’s threat of an investigation to be illegal retaliation, as it is

threatened action by the employer that is harmful to the point that it could very readily dissuade a

reasonable worker from making or supporting a charge of discrimination.6

43.    In July 2019, Defendant Onuh arbitrarily canceled the Muslim religious service on July 19,

2019, without any consequence to Onuh.

44.    Plaintiff reported Onuh’s action to supervisors, who also were notified by Campbell’s co-

worker, Chaplain Farid Farooqi, but Defendant BOP failed to take any action.

45.    Plaintiff reported to his supervisors Defendant Onuh’s refusal to escort community

volunteers from the Latter Day Saint (“LDS”) faith on July 13, 2019 which resulted in the

cancellation of the LDS worship service that day, but Defendant BOP again failed to take action.

46.    On August 10, 2019, LDS volunteers were, again (for the second time in a four week period),

denied access to the institution at a time when Onuh was assigned to escort them.

       6
        Burlington Northern & Santa Fe Railway v. White, 548 U.S. 53, 57 (2006).
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47.    As Defendant Onuh refused to perform these duties, the LDS volunteers waited over 30

minutes before they left without ministering to the needs of the inmates, but Onuh again suffered

no consequences for his refusal to perform these escort duties.

48.    When Defendant Onuh refused to perform escort duty, BOP failed to require him to escort

volunteers, similar to BOP’s repeated failures that Plaintiff complained about previously.

49.    On August 15, 2019, Plaintiff again complained of Defendant Onuh’s refusal to escort LDS

volunteers who visited FMC Carswell to provide for the spiritual needs of inmates of the LDS faith.

50.    Also on August 15, 2019, Onuh, unilaterally, without permission from supervisors and

without any notification to supervisors, changed his work schedule, which resulted in a scheduled

worship service that day for the Wiccan community being canceled.

51.    On August 21, 2019, Plaintiff emailed Heidi Kugler, Chief Chaplaincy Administrator at

BOP, to notify Kugler that FMC Carswell inmates continue to miss religious services because of

Defendant Onuh’s behavior, including the incidents on August 10 and August 15, 2019.

52.    No change in Onuh’s behavior resulted from Plaintiff’s contact with Kugler.

53.    Because BOP refused to remedy this illegal religious discrimination, Plaintiff submitted

another formal request for EEO counseling on August 22, 2019 to Michael A. Irizarry, the EEO

counselor at FMC Carswell, complaining of the on-going hostile work environment at FMC

Carswell and retaliation due to his earlier complaints.

54.    In February 2020, Defendant Onuh returned to work after an extended time away when he

was out of the country.

55.    On February 18, 2020, Plaintiff reported reading two emails indicating that, shortly after

returning to work from his leave, Onuh had interrupted a worship service and caused an LDS inmate

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to miss her designated time of worship.

56.    At or about the same time, Plaintiff learned Onuh had cussed at an inmate worker assigned

to the Religious Services work detail.

57.    In March 2020, as Plaintiff reviewed the scheduling of volunteers, it became apparent to

Plaintiff that the supervisory chaplain, Chaplain Clark, had arranged the scheduling of volunteers

so that Chaplain Onuh only works with Catholic volunteers, rather than with volunteers of other

faiths, as other department chaplains are required.

58.    On March 11, 2020, when staff chaplains were bidding on new work schedules that would

change the volunteers and inmates with whom they would regularly work, Chaplain Clark told

Plaintiff that Clark might change the entire programming and volunteer schedule rather than

requiring Chaplain Onuh to supervise and facilitate the programming of other faith groups.

59.    On March 11, 2020, Chaplain Gunn, the Life Connections Program chaplain, told Plaintiff

that Chaplain Clark intended to leave her as the acting department head should he be required to be

away from work. Plaintiff was the senior staff chaplain in the department at the time.

60.    Before March 11, 2020, Plaintiff complained to Chaplain Clark about his practice of taking

leave without naming any acting department head, which is contrary to the practice in every other

department at FMC Carswell, and contrary to past practice in the Religious Services department.

61.    When confronted by Plaintiff, Clark said leaving no acting department head was “how he

always liked to do things”, which was contradicted by his statement to Chaplain Gunn noted above.

62.    Before Plaintiff’s March 11, 2020 conversation with Chaplain Gunn and after the CAO’s

decision requiring BOP to remedy the illegal discrimination, Plaintiff had asked Chaplain Clark who

would be the acting supervisor in his absence.

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63.    Chaplain Clark told Plaintiff to consult associate warden Cohen, but Cohen had previously

said he would not speak to Plaintiff without having another staff member present.

64.    In March 2020, Plaintiff also learned the EEO counselor for FMC Carswell, Michael Irizarry,

has had several hours-long meetings with Defendant Onuh, apparently to discuss claims by Onuh,

but Irizarry has never met with Plaintiff, nor with Chaplain Farooqi, who also filed an EEO

complaint against Defendant Onuh.

65.    During the January 2020 to March 2020 time period, members of the executive staff at FMC

Carswell, including the warden, associate warden Cohen and the warden’s executive assistant, all

appeared unannounced in classes led by Plaintiff, which had not happened before Plaintiff’s recent

complaints of discrimination and harassment.

66.    Associate warden Cohen, on at least two other occasions, attended other classes led by

Plaintiff, which is unprecedented in Plaintiff’s experience and not matched by Cohen’s attending

classes led by other chaplains.

67.    Chaplain Clark has also arranged for regional staff to attend a recent class led by Plaintiff,

who was the only department chaplain monitored by visiting staff.

68.    On or about March 22, 2020, Chaplain Clark asked Plaintiff to report to him at the camp,

rather than have Plaintiff go to his primary office.

69.    Clark first told Plaintiff they “had planning to do”, but after Plaintiff spent most of the

afternoon with Clark, without doing any planning, Clark explained that he wanted to be able to

testify that he had worked to keep the Plaintiff and Defendant Onuh separate from one another.

70.    In late March 2020, Chaplain Clark told Plaintiff he had decided to cancel all religious

programming with the exception of mandatory worship services, Threshold programming and Life

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Connections programming, in response to Covid-19.

71.     Despite Plaintiff’s vigorous opposition to this arbitrary and capricious decision in a prison

where social distancing cannot be accomplished, this plan was put into effect.

72.     Within days of implementing this new plan, Chaplain Clark was making exceptions for

Defendant Onuh to continue conducting “Stations of the Cross” programming and Onuh’s class on

Catholic sacraments.

73.     With these exceptions for Defendant Onuh’s programs and classes, Onuh continued to

receive, and he currently receives, more favorable treatment, apparently due to religion, while

religious programming directed by Plaintiff was and is canceled.

74.     On March 25, 2020, Plaintiff also observed that the FMC Carswell staff telephone guide

identifies Defendant Onuh as “Father” which is different than other chaplains and inconsistent with

BOP guidance stating that all chaplains should be referred to simply as “chaplain”.

75.     Chaplain Farooqi is not listed on the telephone guide as “Imam”, nor “Dr.”, and no other

chaplain is listed as “Bro.”, “Rev.”, “Pastor”, or “Dr.”, as would be appropriate to their religious

affiliations, as only Defendant Onuh is allowed the honorific designation of his religion.

76.     On April 6, 2020, Chaplain Clark was made an acting associate warden at FMC Carswell

until further notice.

77.     Clark instructed Plaintiff to oversee Passover preparations via individual accommodation

rather than allowing any congregate worship, which instruction for individual accommodation was

to be the practice among the other religious groups.

78.     Plaintiff complained to acting Associate Warden (Chaplain) Clark that ... the nature of the

prison environment does not lend itself to “social distancing” under the best of circumstances and

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these restrictions are not the “least restrictive means” of placing a substantial burden upon the

exercise of religion, and that these restrictions were not applied to Defendant Onuh who continued

to lead congregate worship services.

79.    On or about April 6, 2020, Plaintiff reported these issues about the denial of congregate

services to Chief Chaplaincy Administrator Kugler.

80.    On April 17, 2020, after Plaintiff reported to Chaplain Clark that he did not want to work

with Chaplain Onuh without clear lines of authority, Chaplain Clark advised that Plaintiff, Chaplain

Farooqi, and Defendant Onuh would be working at FMC Carswell without any designated supervisor.

81.    Clark told Plaintiff he “need[ed] to make rounds everywhere” and if Plaintiff felt a need to

be separated from Defendant Onuh, Plaintiff should adjust his location to be opposite of Onuh’s

location, as “pastoral rounds need to be made everywhere”.

82.    On April 17, 2020, Chaplain Clark advised Plaintiff that he should “avoid Onuh” when their

schedules overlapped.

83.    On May 16, 2020, Plaintiff repeated his request for clear lines of authority and supervision

on Sundays when all staff chaplains were scheduled to work, but acting associate warden (Chaplain)

Clark was not present to supervise the department due to his change in duties.

84.    Chaplain Clark continued to refuse to delegate responsibilities or make clear work

assignments in his absence.

85.    Due to the continuing refusal by Clark and BOP to address Defendant Onuh’s religious

discrimination and harassment, Plaintiff was forced to expend leave time on Sundays to avoid Onuh.

86.    In April and May of 2020, while acting as associate warden, Clark held no staff meetings,

provided no plan for operation of the department, nor to alleviate the hostile work environment, and

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he continued to cancel congregate services other than the services organized by Defendant Onuh.

87.    On May 30, 2020, when Plaintiff again complained to Chaplain Clark about Defendant

Onuh’s continuing to conduct congregate worship services on Sundays in the various units, Clark

indicated he did not believe Onuh was conducting services, but he would look into the matter.

88.    When Plaintiff questioned Clark after the next Sunday, Chaplain Clark said he had not spoken

with the chaplains who worked the prior Sunday about whether or not services were being conducted.

89.    Clark called Chaplain Farooqi, who had worked the prior Sunday, to the office and Farooqi

confirmed to Clark, in the presence of the Plaintiff, that Defendant Onuh was conducting services

on various units on Sundays in violation of Clark's instructions.

90.    In April and May 2020, Clark continued to refuse to allow Plaintiff to conduct congregate

services on the various units at FMC Carswell.

91.    Chaplain Clark consistently turned a blind eye to Defendant Onuh holding congregate

services, while refusing Plaintiff and other chaplains the opportunity to lead congregate services.

92.    In May 2020, Plaintiff saw illegal religious discrimination at FMC Carswell continue

unabated despite his complaints and despite the final agency decision that ordered BOP to remedy

the illegal religious discrimination.

93.    By June 7, 2020, Chaplain Clark was no longer the acting associate warden for programming

and he returned full-time to his duties as supervisory chaplain.

94.    On June 7, 2020, Plaintiff advised Chaplain Clark that Plaintiff had not worked a Sunday in

two months, due to Plaintiff seeking to avoid working, unsupervised, with Defendant Onuh.

95.    Chaplain Clark again instructed Plaintiff to avoid being in the same area as Chaplain Onuh.

96.    On June 12, 2020, Chaplain Clark informed Plaintiff that a proposal Plaintiff had made for

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modified religious services was denied; that the regional office had been contacted; and no other

institutions in the region were holding congregate services.

97.    Despite this information, Defendant Onuh continued to hold congregate services for the

Catholic community that were apparently not authorized.

98.    Clark also informed Plaintiff on June 12, 2020, that he had not spoken with Defendant Onuh

about Onuh holding unauthorized congregate services, but that Clark had emailed Onuh to instruct

him to stop the services.

99.    On June 18, 2020, Plaintiff Campbell was notified that Defendant Onuh filed an EEO

complaint of religious discrimination against Campbell.

100.   This EEO complaint by Defendant Onuh is consistent with Onuh’s statement that he is “at

war” with Plaintiff Campbell.

101.   On June 25, 2020, Chaplain Clark told Plaintiff that Clark had been selected Supervisor of

the Year at FMC Carswell.

102.   That same day, Clark told Plaintiff that Clark planned to file his own EEO complaint against

Defendant Onuh.

103.   As of July 6, 2020, Plaintiff and Defendant Onuh were still scheduled to work together

unsupervised on Sundays, but Plaintiff accepted a move from working on Sundays, with an

accompanying loss of pay, in order to avoid work with Onuh.

104.   On August 16, 2020, it was announced by BOP that Chaplain Clark was “Supervisor of the

Year” at FMC Carswell, which award was given during a time when Clark held no departmental

staff meetings; cancelled and failed to accommodate religious services; and when three of five staff

chaplains filed EEO complaints of illegal religious discrimination and hostile work environments.

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105.   Also in August 2020, Chaplain Clark named the two newest chaplains, Gunn and

Montgomery, as acting supervisors in his absence, even after previously stating his supposed

practice of not naming an acting supervisor in his absence.

106.   On August 17, 2020, Plaintiff received a telephone call from Chaplain Farooqi at home to

ask about the Plaintiff’s welfare.

107.   During the conversation, Farooqi said Defendant Onuh had been “hopping mad” at work that

day because he was called by the Special Investigative Agent and interviewed about one of the

religious services he arbitrarily canceled.

108.   Defendant Onuh said he “had kept Farooqi out of everything”, but if he faced discipline over

the events addressed in the interview, he “would not spare anyone.”

109.   Also on August 17, 2020, Plaintiff learned that department heads are responsible for

proposing all discipline to the warden, who decides whether proposed discipline is appropriate.

110.   With this information, Plaintiff recognized that when Chaplain Clark told Plaintiff on

multiple occasions that nothing was going to happen to Defendant Onuh, it was Clark himself who

was responsible for recommending discipline for Onuh, which he apparently did not recommend.

111.   On September 1, 2020, Plaintiff received an email from Chaplain Clark stating that

“Chaplain Gunn will be acting for me on the above days. I will be on leave.”

112.   Also around September 1, 2020, Chaplain Clark advised Plaintiff that Clark was planning

to take responsibility for the Thresholds programming at FMC Carswell from Plaintiff and give it

to Chaplain Montgomery.

113.   Thresholds is one of two nationwide Religious Services programs that are the official BOP

re-entry/rehabilitation programs.

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114.   Plaintiff has facilitated, supervised and/or directed the Thresholds programming at FMC

Carswell for the entire time of his assignment at FMC Carswell.

115.   On September 10, 2020, Chaplain Clark told Plaintiff the BOP Central Office had announced

that FMC Carswell never should have prohibited congregate religious services over the prior six

months, as Plaintiff previously told Clark.

116.   On September 10, 2020, Plaintiff was also notified that he would receive a different work

schedule starting in October, where Plaintiff and Defendant Onuh would change from working one

out of four days together, unsupervised, to working three out of four days together.

117.   By this proposed schedule, Plaintiff would be forced to work more days with his harasser

than with anyone else in the Religious Services department.

118.   Around September 29, 2020, while reviewing a BOP Program Statement “Discrimination

and Retaliation Complaints Processing”, Plaintiff learned the EEO officer for FMC Carswell was

required to file a report with the CAO about the implementation of the final agency decision for his

case which, apparently, was not done.

119.   On October 1, 2020, Plaintiff notified Chaplain Clark of prior instructions he had received

from former Warden Jody Upton that Plaintiff should not report to Warden Upton, nor to the Special

Investigative Agent, religious discrimination and harassment by Defendant Onuh.

120.   Plaintiff also notified Clark of threats by former associate warden Cohen to charge Plaintiff

with “stalking” if he made any new complaints about Onuh’s discrimination and harassment.

121.   Plaintiff also notified Clark that the change to Plaintiff’s work schedule effective on October

1, 2020 was an aggravation of an already documented hostile work environment.

122.   Plaintiff also repeated his many earlier requests that Clark, as department supervisor, remedy

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Campbell’s hostile work environment as ordered by the May 2019 CAO decision.

123.   Clark never made any substantive response to Plaintiff’s earlier requests for a remedy and

he again made no substantive response on October 1, 2020.

124.   On December 5, 2020, a staff member at the main institution called on the radio for a

chaplain, but no one responded.

125.   Defendant Onuh was working that day at the main institution, but he failed to respond.

126.   The control officer, again, broadcast over the radio for a chaplain to respond, but still Onuh

failed to respond.

127.   Then the control officer called for Plaintiff Campbell specifically by name and Plaintiff

responded to the control officer to say he was moving to the location of the control officer.

128.   When Plaintiff asked the control officer if Defendant Onuh had left the institution, she stated

that she called for Plaintiff specifically, because “Chaplain Onuh doesn’t answer his radio” and she

knew that Plaintiff would respond.

129.   When Plaintiff then called Onuh by name on the radio, he finally responded.

130.   This is a long-standing problem in the Religious Services department, where Defendant

Onuh simply fails to respond to general calls for “Religious Services” or for a “chaplain”.

131.   In December 2020, after the contentious schedule change in October 2020, Plaintiff

continued to be assigned to only the main institution at FMC Carswell on Fridays and he is assigned

only at the camp on Saturdays .

132.   Defendant Onuh is supposed to be assigned to an opposite schedule, only at the camp on

Fridays and only at the main institution on Saturdays.

133.   This arrangement is intended to separate Plaintiff and Defendant Onuh when no supervisor

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is present, yet the separation punishes Plaintiff and substantially burdens Plaintiff’s exercise of

religion, as it restricts his ministry and his movement at FMC Carswell in violation of BOP policy.

134.   Also in December 2020, Chaplain Clark again made clear that he would not leave Plaintiff

as the acting supervisor in his absence.

135.   Clark told others in the department that his refusal to assign Plaintiff as acting supervisor was

due to Plaintiff’s EEO activity.

136.   On January 8, 2021, Defendant Onuh made the decision to work at the main institution on

Friday rather than from his assigned office at the camp.

137.   When Plaintiff complained to Chaplain Clark about the separation not being maintained,

Clark told him that the separation was not something that he could enforce.

138.   On Friday, January 22, 2021, because Defendant Onuh had started working at the main

institution on Fridays, Plaintiff reported to work at the camp.

139.   Chaplain Clark contacted Plaintiff by telephone to request that Plaintiff take supplies to

Jewish inmates in the main institution for their Shabbat observation.

140.   Plaintiff reminded Clark of their exchange on January 8, 2021 and told him that he reported

to the camp, rather than at the main institution, because of Clark's instruction that he avoid

Defendant Onuh.

141.   Plaintiff and Chaplain Clark discussed the difficulties Clark has in managing Defendant

Onuh; Clark continued to maintain that he has no responsibility for Onuh's religious discrimination

and harassment because upper management instructed him to “manage around” Defendant Onuh.

142.   Plaintiff suggested that Chaplain Clark contact Defendant Onuh at the main institution to

address the issue of Shabbat supplies.

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143.   A few hours later, Clark called Plaintiff a second time to ask him to handle the issue of Shabbat

supplies because Defendant Onuh either never responded to Clark’s call or had refused the assignment.

144.   These events Plaintiff reported from June 2019 through January 2021 are consistent with

Defendant Onuh’s years-long history of arbitrarily canceling non-Catholic religious programs and

services; refusing to perform the duty of escorting non-Catholic volunteers; interfering with

Protestant programming; and continuing to announce and schedule Catholic services in the time and

space assigned to Plaintiff for Protestant services, which were among the numerous actions

demonstrating religious discrimination and harassment identified by the CAO in May 2019.

145.   Plaintiff alleges BOP’s and/or FMC Carswell’s policy of requiring him to avoid Defendant

Onuh, as Clark has repeatedly instructed, is illegal discrimination, which BOP knows, because the

CAO decision notified BOP in May 2019 that instructions of “just avoid Onuh”; “manage around

him” and “work around Onuh” are examples of illegal discrimination and harassment.

146.   BOP simply refuses to correct what CAO called Onuh’s “incorrigible” behavior.

147.   Plaintiff shows he has suffered both economic and non-economic damages due to

Defendants’ illegal conduct, including lost wages, denial of promotions, other lost economic

benefits, including lost leave and vacation benefits; and he has suffered mental anguish and

emotional distress because of BOP’s refusal to comply with the law, because of BOP’s refusal to

correct Defendant Onuh’s “incorrigible” behavior, and because of Onuh’s illegal conduct that BOP

has simply known about and refused to correct for years.

                                    Plaintiff’s Title VII Claims

148.   Plaintiff incorporates by reference and re-alleges as if stated fully here, the factual allegations

set out in paragraphs 20 through 147 above and he relies upon these allegations for his claims of

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violations of Title VII by Defendants.

149.    Campbell further alleges he was subjected to religious discrimination and harassment in his

employment with BOP, in violation of 42 U.S.C. § 2000e et seq.; he alleges he is a member of a

protected class; he suffered illegal discrimination and harassment because of his religion; and he

suffered damages as a result of the illegal discrimination, including

150.    Campbell alleges the conduct of BOP and its employees violates Title VII of the Civil Rights

Act of 1964, 42 U.S.C. 2000e et seq.

151.    Campbell exhausted administrative remedies, as evidenced by two decisions from CAO

attached to this pleading, and this Court accordingly has jurisdiction over his claims under Title VII.

152.    Campbell alleges he is entitled under Title VII, to file this action to obtain “a de novo review

of the disposition”, that is, a de novo review of his Title VII complaints, including on liability and

remedies, which de novo review he now seeks.7

153.    Campbell alleges he is entitled to injunctive relief, declaratory relief, and/or equitable relief to

obtain appropriate remedies for his Title VII complaints, as such remedies are available under Title VII.

                  Plaintiff’s RELIGIOUS FREEDOM RESTORATION ACT Claims

154.    Plaintiff incorporates by reference and re-alleges as if stated fully here, the factual allegations

set out in paragraphs 20 through 147 above and he relies upon these allegations for his claims under

the RELIGIOUS FREEDOM RESTORATION ACT, 42 U.S.C. § 2000bb et seq.

155.    “The RELIGIOUS FREEDOM RESTORATION ACT                OF   1993 (RFRA) prohibits the Federal

Government from imposing substantial burdens on religious exercise, absent a compelling interest




        7
         Massingill, 496 F.3d at 384 (citing Scott v. Johanns, 409 F.3d 466 (D.C.Cir. 2005)).
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pursued through the least restrictive means.”8

156.    “Congress passed the Act in the wake of ... Employment Div., Dept. of Human Resources of

Ore. v. Smith, 494 U.S. 872, 110 S.Ct. 1595, 108 L.Ed.2d 876 (1990)”.9

157.    The RFRA allows “persons whose religious exercise is substantially burdened by

government ... to ‘obtain appropriate relief against a government.’”10

158.    The RFRA authorizes this action against Defendant Garland in his official capacity as the

head of the Department of Justice, which is the executive branch department in which BOP is one

component agency, because the actions and inactions of BOP substantially burden the Plaintiff’s

exercise of religion in violation of this law.11

159.    The RFRA authorizes Plaintiff, as a person whose religious exercise has been substantially

burdened, to assert a claim in a judicial proceeding and obtain appropriate relief.12

160.    “Appropriate relief” under the RFRA “includes claims for money damages against

Government officials in their individual capacities.”13

161.    The RFRA authorizes this action against Defendant Onuh in his official capacity because

the term “‘government’ includes a branch, department, agency, instrumentality, and official (or other

person acting under color of law) of the United States ...”.14


        8
         FNU Tanzin, et al. v. Tanvir, et al., 141 S.Ct. 486, 489 (2020).
        9
         Id.
        10
             Id. (internal citations omitted).
        11
             42 U.S.C. § 2000bb-1(c).
        12
             Id.
        13
             Tanzin, 141 S.Ct. at 489.
        14
             42 U.S.C. § 2000bb-2(2).
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162.    The RFRA authorizes this action against Defendant Onuh in his individual capacity because

“‘appropriate relief’ includes claims for money damages against Government officials in their

individual capacities.”15

163.    The RFRA authorizes Plaintiff to challenge the failures of the BOP to stop conduct of

Defendant Onuh, to stop conduct of other BOP employees, and to compel appropriate action by BOP

employees to remedy the substantial burdens imposed on Plaintiff’s exercise of his religion.16

164.    Defendant Onuh has no qualified immunity as to Plaintiff’s claims for equitable relief,

because qualified immunity is only a “defense to monetary damages and ‘do[es] not extend to suits

for injunctive relief[].’”17

165.    Defendant Onuh has no qualified immunity in this “rare obvious case, where the

unlawfulness of [Onuh’s] conduct is sufficiently clear”.18

166.    Defendant Onuh has no qualified immunity because “[q]ualified immunity shields from

liability ‘all but the plainly incompetent or those who knowingly violate the law’”19 and Onuh

knowingly violated the law, while BOP allowed him to violate the law, at least since 2013.

167.    The May 16, 2019 decision from the CAO demonstrates the actual knowledge held by

Defendant Onuh and BOP, as it states:

        “It was not the case that Onuh merely does not like to work; [Supervisory Chaplain

        15
             Tanzin, 141 S.Ct. at 489.
        16
             5 U.S.C. § 704.
        17
        Robinson v. Hunt County, Texas, 921 F.3d 440, 452 (5th Cir. 2019) (quoting Valley v.
Rapides Parish School Bd., 118 F.3d 1047, 1051 n.1 (5th Cir. 1997)).
        18
             Id. (citing City of Escondido v. Emmons, 139 S. Ct. 500, 504 (2019)).
        19
        Amador v. Vasquez, No. 17-51001, p12 (5th Cir. 2020) (citing Romero v. City of
Grapevine, 888 F.3d 170, 176 (5th Cir. 2018); and Malley v. Briggs, 475 U.S. 335, 341 (1986)).
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       Jonathan] Clark said ‘he doesn’t like to work with other faith groups.’ ROI 91.
       The record bars out Clark’s assessment, as it does not describe Onuh’s failure
       supervise Catholic services or escort Catholic volunteers.”20

       “Clark ... admitted that he believed Onuh acted inappropriately and with religious
       animus, so much so that he considered filing his own EEO claim ...”21

       “Associate Warden Catricia Howard, on April 6, 2017, ... said that Clark had ‘made
       her aware of the situation’ and she ‘[r]eferred it for appropriate action.’ ROI 27”22

       “But these efforts - and it seems only Clark made efforts - did not succeed.”23

       “The record does not show that managers took any additional action in light of
       Onuh’s incorrigible behavior. Onuh continued to avoid escorting non-Catholic
       volunteers and to interfere with Protestant programming. In March 2018 he left
       the main facility so that he would not have to assist a Christian Science volunteer and
       that same month he announced and scheduled Catholic services in the time and
       space assigned to complainant. ROI 66. Complainant maintained that ‘in the year
       since [his] official complaint, [he] has seen no change in Chaplain Onuh’s
       behavior.’ ROI 66.”

168.   Plaintiff alleges, as noted in his factual allegations above, despite the CAO order requiring

BOP to “take steps reasonably calculated to prevent future harassment, consistent with 29 C.F.R.

§ 1614.501(a)(2)”, which Plaintiff alleges required BOP to take “corrective, curative or preventive

action ... to ensure that violations of the law similar to those found will not recur”, BOP failed to

take such “corrective, curative or preventive action”.

169.   Knowing, intentional and deliberate illegal conduct of Defendant Onuh continues to this day,

including much of the same illegal conduct Plaintiff has been complaining about since 2013, such as:

       a.          Onuh’s refusal to perform the duty of “escorting non-Catholic volunteers”;


       20
       May 16, 2019 Department of Justice Final Agency Decision in the Matter of Casey
Campbell v. Federal Bureau of Prisons, P20 (emphasis added).
       21
            Id. at P22.
       22
            Id. at P23.
       23
            Id. (emphasis added).
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       b.      Onuh continuing “to interfere with Protestant programming”; and

       c.      Onuh continuing to announce[] and schedule[] Catholic services in the time and
               space assigned to [Plaintiff].

170.   This present and continuing illegal conduct by Defendant Onuh is permitted and fostered by

BOP, which has failed and refused to comply with the CAO decision that requires BOP to take

“corrective, curative or preventive action ... to ensure that violations of the law similar to those

found will not recur”.

171.   These failures by BOP to comply with the final agency decision from the CAO are evidence

to demonstrate the need for injunctive relief as “appropriate relief” under the RFRA.

172.   Plaintiff alleges he is entitled to injunctive relief, declaratory relief, and/or other equitable

relief to end the substantial burdens imposed on his exercise of his religion, which substantial

burdens are the results of the illegal conduct by Defendant Onuh that is allowed by BOP.

173.   The Court should craft appropriate legal, injunctive, declaratory, and/or other equitable relief

to compel BOP to take necessary “corrective, curative or preventive action ... to relieve Plaintiff of

the substantial burdens imposed on his exercise of religion that are imposed by the illegal conduct

by Defendant Onuh; by the failures of BOP to comply with its obligations under Title VII; and

failures by Defendant Garland to ensure his subordinates and subordinate agencies follow the law.

              Plaintiff's Claims for Declaratory, Injunctive and Equitable Relief

174.   Plaintiff alleges the Court has authority under 42 U.S.C. § 2000bb et seq.; under 28 U.S.C.

§ 2201 and § 2202; and/or under 42 U.S.C. § 2000e-5(g) to order declaratory, injunctive, and/or

other equitable relief, including authority to decide Plaintiff’s right to remedies from BOP, whether

this Court acts under the RFRA and/or this Court completes a de novo review of Plaintiff’s claims



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under Title VII.

175.   Plaintiff shows the Court has authority to determine necessary steps to be taken by BOP to

remedy the harassment and to determine what steps should be taken by BOP that would be

reasonably calculated to prevent future harassment, consistent with 29 C.F.R. § 1614.501 (a)(2).

176.   As Defendant Onuh is an individual who will be affected by Campbell’s requests for

declaratory, injunctive, and equitable relief, Campbell also shows the Court that Defendant Onuh

is a proper party to this action that may determine legal rights and remedies that affect Onuh.

177.   Plaintiff shows the Declaratory Judgment Act was “expressly designed to provide a milder

alternative to the injunction remedy.”24

178.   Plaintiff alleges he “may pursue both injunctive and declaratory relief, and ‘[a] court may

grant declaratory relief even though it chooses not to issue an injunction or mandamus.’”25

                                        Plaintiff’s Damages

179.   Defendants caused Plaintiff to suffer damages, including past economic damages and past

and future mental anguish and emotional distress, for which Plaintiff seeks monetary relief,

including all lost wages, lost leave time, lost vacation time and/or other damages for the mental

anguish and emotion distress that Plaintiff has suffered.

                            Pre-Judgment and Post Judgment Interest

180.   Plaintiff seeks pre-judgment and post judgment interest as allowed by applicable law.

                                           Attorney's Fees

181.   Plaintiff Casey Campbell seeks attorney’s fees as permitted by law, including under 28

       24
        Robinson v. Hunt County, Texas, 921 F.3d 440, 450 (5th Cir. 2019) (citing Morrow v.
Harwell , 768 F.2d 619, 627 (5th Cir. 1985)).
       25
            Id. (citing Powell v. McCormack, 395 U.S. 486, 499 (1969)).
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U.S.C. § 2201 et seq.; under 42 U.S.C. § 2000bb et seq.; and/or under 42 U.S.C. § 2000e et seq.

                                             Jury Request

182.    Casey Campbell requests a jury trial.



        WHEREFORE, Plaintiff Casey Campbell prays that after Defendant Merrick Garland and

Defendant William Onuh answer, that on final jury trial, he have judgment against Defendants for

his damages, costs of suit, prejudgment and post-judgment interest as permitted by law, as well as

the declaratory, injunctive and equitable relief requested against both Defendants, and for all other

relief to which Plaintiff may show himself to be justly entitled.

                                        Respectfully submitted,

                                         s/ William J. Dunleavy
                                        William J. Dunleavy
                                        State Bar No. 00787404
                                        Law Offices of William J. Dunleavy
                                        825 Watters Creek Boulevard
                                        Building M, Suite 250
                                        Allen, Texas 75013
                                        Telephone: 972/247-9200
                                        Facsimile: 972/247-9201

                                        ATTORNEY FOR PLAINTIFF

                          CERTIFICATE OF FILING AND SERVICE

         I certify that on March 18, 2021, I electronically filed this pleading with the Clerk of the U.S.
District Court Northern District of Texas, using the electronic case filing system. The electronic
case filing system sent “Notice of Electronic Filing” to Sarah E. Delaney: sarah.delaney@usdoj.gov;
Andrew Pritchard: andrew.pritchard@usdoj.gov; Brian Stolz: brian.stoltz@usdoj.gov; and Scott
Hogan: scott.hogan@usdoj.gov, as attorneys of record for Defendant Garland and Defendant Onuh,
who have consented to accept this service of pleadings by electronic means.

                                         s/ William J. Dunleavy
                                        William J. Dunleavy
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